873 F.2d 1438Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Rita Renee GARLAND, Plaintiff-Appellant,v.E. MURRAY, Director, Virginia Department of Correction, S.Burton, Warden, Virginia Correctional Center forWomen, Nurse Cooper, VirginiaCorrectional Center for Women,Defendants-Appellees.
    No. 88-7306.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 10, 1989.Decided April 27, 1989.Rehearing Denied June 12, 1989.
    
      Rita Renee Garland, appellant pro se.
      Before WIDENER and WILKINSON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Rita Renee Garland appeals the district court's dismissal of this 42 U.S.C. Sec. 1983 action for failure to pay the assessed filing fee.  Finding that the district court properly complied with the procedures approved in Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and did not abuse its discretion in dismissing the action without prejudice, we deny leave to proceed in forma pauperis and dismiss the appeal.  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      DISMISSED.
    
    